Case 4:18-cv-00442-RH-MAF Document 328 Filed 11/15/21 Page 1 of 1

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See “Jnstcuctions for Service af Process bv CS Mawaded”

Sennen AANA

 

 

 

 

 

PLAINTIFF COURT CASE NUMBER
GPDEV, LLC and SIMONS EXPLORATION, INC. 4:18¢cv442-RH/MAF
DEFENDANT TYPE OF PROCESS

TEAM SYSTEMS INTERNATIONAL, LLC WRIT OF GARNISHMENT

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE BBVA USA BANK

AT ADDRESS (Street on RFD, Apartirent No., City, State and ZIP Code)
1695 US HIGHWAY 1S., ST. AUGUSTINE, FL 32084

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

LEONARD M. COLLINS
301 S. BRONOUGH ST, SUITE 600
TALLAHASSEE, FL 32301

served with this Form 285
Number of parties te be
served in this case

Check for service
on U.S.A.

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (include Business and Alternate Addresses,

All Telephone Numbers, and Estinated Thines Available for Service):

 

Signature of Attomey other Originator requesting service on behulf of: (] PLAINTIFF

[1] DEFENDANT

 

TELEPHONE NUMBER DATE

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

Jacknowledge receipt forthe total | Totat Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. Origin Serve ii vue

(Sign ont for USM 285 if more a ' ' gitally signed by JULIE WHITE

than one USA 285 is subnutted) No, 17 No, 18 J U LI E WH ITE Dale: 2021.11.03 14:48:01 0400" 11/3/2021

 

 

 

 

 

 

hereby certify and return that t

have personally served , (7) fave legal evidence of service. (1) have executed as shown in "Remarks", the process described on the

individual, conipany, corporation, etc., at the address shown above on the on the individual, company, corporation, etc, shown al the address inserted below,

() Lhereby certify and rerum that Lam unable fo locate the individual, company. corpomtion, etc. named above (See remarks below)

 

Name and title of wee fifnet “ above} )
. btn
| ft Yorn

Date Time

W130 ry UGU ae

 

 

Address (complete onty different than shown above)

Signature of U.S, Marshat or Deputy

 

 

Coasts shown on attached USMS Cost Sheet >>

REMARKS

DUSM Hrs:
RT Mileage:

 

 

Fonn USM-285
Rev O12
